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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,                               Crim. No. 14-289 (SRN/JSM)

                     Plaintiff,

       v.                                                      ORDER

Eleuterio Izazaga-Pascacio (4),

                     Defendant.


Allen A. Slaughter, Jr., Office of the United States Attorney, 316 North Robert Street,
Suite 404, St. Paul, Minnesota 55101, for Plaintiff United States of America

Daniel L. Gerdts, 247 Third Avenue South, Minneapolis, Minnesota 55415, for
Defendant


SUSAN RICHARD NELSON, United States District Judge

       The above matter comes before the Court on the Motion for a Continuance and

Exclusion of Time Under the Speedy Trial Act [Doc. No. 359]. On January 19, 2016,

counsel for the Government and counsel for Defendant Eleuterio Izazaga-Pascacio

appeared at a hearing before the Court. Izazaga-Pascacio was present and was provided

the opportunity to consult with his counsel during a break in the proceedings. At the

hearing, the Court ruled from the bench and granted Defendant’s motion. This Order

memorializes that ruling. For the reasons stated on the record at the hearing, and as set

forth in the Court’s findings below, the Motion for a Continuance and Exclusion of Time

Under the Speedy Trial Act [Doc. No. 359] is granted.
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I.     BACKGROUND

       A Superseding Indictment was filed in this case on September 23, 2014, charging

Defendant and eleven others with drug conspiracy, several counts of money laundering,

and numerous individual drug distribution and possession counts. (Superseding

Indictment [Doc. No. 1].) On October 3, 2014, the Government moved [Doc. No. 56] to

designate this case as complex under the Speedy Trial Act. As the Government noted in

that motion, Defendants’ charges resulted from an investigation, beginning in 2011, of an

extensive alleged drug scheme from Minnesota to California that spanned several years.

(Id. at 1-2.) On November 10, 2014, the Court granted the Government’s motion [Doc.

No. 78], designating the case as complex.

       Pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, attorney Daniel Gerdts

was initially appointed to represent Defendant. (CJA 20 Appointment [Doc. No. 98].)

Subsequently, Izazaga-Pascacio retained two separate attorneys to represent him, each of

whom was permitted to withdraw for different reasons. On September 24, 2015,

Defendant requested new counsel and the Court determined that he qualified for the

appointment of counsel [Doc. No. 331]. Attorney Gerdts was reappointed as Defendant’s

counsel on October 1, 2015 [Doc. No. 333].

       On October 21, 2015, the Government filed a Second Superseding Indictment

[Doc. No. 336] and the Court set a trial date of January 19, 2016 [Doc. No. 342]. On

December 30, 2015, Defendant’s counsel filed the instant motion [Doc. No. 359], seeking

a continuance of the trial date in order to adequately prepare and an exclusion of time



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under the Speedy Trial Act. Counsel seeks an continuance until May 16, 2016.

       While the Government does not oppose the instant motion (id. at 1), Defendant

opposes his counsel’s request. At the hearing, Defendant explained that his continued

pretrial detention has caused his family significant financial hardship and he wishes to

proceed to trial on an earlier date. However, Izazaga-Pascacio also acknowledged that his

attorney requires additional time in which to prepare for trial.

II.    DISCUSSION

       The Speedy Trial Act, 18 U.S.C. §§ 3161-3174, requires that a defendant be tried

within seventy days after being charged or initially appearing, unless the running of time

is stopped for reasons set forth under the statute. United States v. Herbst, 666 F.3d 504,

510 (8th Cir. 2012) (citing United States v. Lucas, 499 F.3d 769, 782 (8th Cir. 2007) (en

banc)); 18 U.S.C. § 3161(c). Pursuant to the statute, time may be excluded from the

speedy trial calculation for

       [a]ny period of delay resulting from a continuance granted by any judge on
       his own motion or at the request of the defendant or his counsel or at the
       request of the attorney for the Government, if the judge granted such
       continuance on the basis of his findings that the ends of justice served by
       taking such action outweigh the best interest of the public and the defendant
       in a speedy trial.


18 U.S.C.A. § 3161(h)(7)(A). A defendant’s opposition to his attorney’s request for a

continuance does not prevent a court from granting a continuance based on the court’s

findings that the ends of justice outweigh the best interest of the public and the defendant

in a speedy trial. United States v. Herbst, 666 F.3d 504, 510 (8th Cir. 2012) (citing



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United States v. Sobh, 571 F.3d 600, 603 (6th Cir. 2009)).

       Here, as noted on the record, the Court finds that the ends of justice in granting a

continuance and exclusion of time under the Speedy Trial Act outweigh the best interest

of the public and Defendant in a speedy trial. In making this determination, the Court has

considered the factors set forth in 18 U.S.C. § 3161(h)(7)(B). While the Court

appreciates the stresses and difficulties borne by Defendant’s family, Defendant requires

prepared, effective representation at trial. This is a complex case, involving a high

volume of written discovery as well as thousands of computer files containing audio and

videotaped evidence. The Government applied for five separate Title III wiretaps of

multiple organization targets in this case and amassed hundreds of hours of video

surveillance. (See Def.’s Mot. at 2 [Doc. No. 359].) The geographic and temporal span

of this case is also vast, as the Government’s disclosures reveal an investigation

beginning in 2011 of a drug conspiracy and money laundering operation that covered

territory including Minnesota, California, Florida, and Mexico. (Id.) Defense counsel

was reappointed only fairly recently and needs sufficient time in which to review this

voluminous information and adequately prepare to represent Izazaga-Pascacio. At the

hearing, Izazaga-Pascacio conceded that his counsel requires additional time, through no

fault of counsel. Defendant stated that even he and his family need to provide Gerdts

with some additional documents. Based on these facts, the Court finds that due to the

complexity of this case, it is unreasonable to expect adequate preparation for trial within

the normal time limits of the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(B)(ii).



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       Attorney Gerdts requests only a modest continuance until May 16, 2016 and the

exclusion of intervening time from this Court’s ruling through the commencement of trial

on May 16, 2016. In addition, Gerdts is preparing for several other major trials at this

time, including a large gang-related gun- and drug-conspiracy case and a first degree

murder case.

       Again, the Court understands Defendant’s desire to relieve his family’s economic

hardship, but given the complexities of this case and the potential risk to Defendant, his

counsel’s ability to effectively prepare for trial is imperative. Accordingly, for all of

these reasons, the motion for a continuance of trial and exclusion of time under the

Speedy Trial Act is granted.

IT IS HEREBY ORDERED that:

       1. Pursuant to 18 U.S.C. § 3161(h)(7)(A), Defendant’s Motion for a Continuance

and Exclusion of Time Under the Speedy Trial Act [Doc. No. 359] is GRANTED; and

       2. The intervening time from this Court’s January 19, 2016 bench ruling on

Defendant’s Motion through the commencement of trial on May 16, 2016, shall be

excluded under the Speedy Trial Act, consistent with this Order.



Dated: January 22, 2016

                                                   s/Susan Richard Nelson
                                                   SUSAN RICHARD NELSON
                                                   United States District Judge




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